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                      UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF IDAHO

 In re:

          BRIAN ANDREASEN and KATHRYN A.              Case No. 19-40324-JMM (Ch. 7)
          ANDREASEN,


          PETER MICHAEL LESBO,                        Case No. 19-40683-JMM (Ch. 7)


          STEPHEN PICHETTE and DANIELLE               Case No. 19-40730-JMM (Ch. 7)
          PICHETTE,


          LYONE B. OVERLIN and REBECCA J.             Case No. 19-40972-JMM (Ch. 7)
          OVERLIN,




          JAMES EDWARD DESCOTEAU,                     Case No. 20-00843-JMM (Ch. 7)

          HEATHER MANNING,                            Case No. 20-01004-JMM (Ch. 7)


          DOMINIQUE WILSON,                           Case No. 20-01047-JMM (Ch. 7)


          LESLIE A. SETTLES,                          Case No. 20-01063-JMM (Ch. 7)


          APRIL TREJO ESPINO,                         Case No. 20-40528-JMM (Ch. 7)


          DARREL DICKSON, JR.,                        Case No. 20-40754-JMM (Ch. 7)


          KARA D. ANDRUS,                             Case No. 20-40819-JMM (Ch. 7)
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       TARA DAWN MACTAGGART,                       Case No. 20-40902-JMM (Ch. 7)


       BRANDY G. EMDIN,                            Case No. 20-40903-JMM (Ch. 7)


       CHRISTY L. PHIPPS,                          Case No. 20-40915-JMM (Ch. 7)


       ALICIA D. BARENDREGT and COLIN              Case No. 20-40931-JMM (Ch. 7)
       BARENDREGT,


       TYRON L. BATES and MEAGAN BENNETT,          Case No. 20-40961-JMM (Ch. 7)


       HANNAH JOY CAIN,                            Case No. 21-00248-JMM (Ch. 7)


       LAUREN DAWN RIVERA,                         Case No. 21-40002-JMM (Ch. 7)


       CALLIE RAMIREZ,                             Case No. 21-40012-JMM (Ch. 7)


       RUTH M. CRISP,                              Case No. 21-40032-JMM (Ch. 7)


       LISA M. PHIPPS,                             Case No. 21-40100-JMM (Ch. 7)


       RHONDA M. WRIGHT,                           Case No. 21-40160-JMM (Ch. 7)


       KENDRICK N. PEREIRA,                        Case No. 21-40162-JMM (Ch. 7)


       HUNTER B. SOLIDAY,                          Case No. 21-40286-JMM (Ch. 7)


       KRISTI M. RANDALL,                          Case No. 21-40374-JMM (Ch. 7)


       ANNA M. BAUMGART,                           Case No. 21-40415-JMM (Ch. 7)
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       SAMANTHA M. WHITWORTH,                      Case No. 21-40460-JMM (Ch. 7)


       JOSHUA T. CLAUNCH and ANIKA D.              Case No. 21-40466-JMM (Ch. 7)
       CLAUNCH,


       ASHLEE M. CROASMUN,                         Case No. 21-40467-JMM (Ch. 7)


       CAMERON WARD and MELISSA HEATH,             Case No. 21-40476-JMM (Ch. 7)


       MARK D. CHRISTENSEN and SARAH A.            Case No. 21-40477-JMM (Ch. 7)
       CHRISTENSEN,


       BRITNI HOWE and CASSIE HOWE,                Case No. 21-40482-JMM (Ch. 7)


       RAFA ELLIOTT and CYNTHIA ELLIOTT,           Case No. 21-40483-JMM (Ch. 7)


       CHAD N. MOXLEY and TONI L. MOXLEY,          Case No. 21-40497-JMM (Ch. 7)


       CHRISTOPHER COOK and TAUSHA COOK,           Case No. 21-40513-JMM (Ch. 7)


       LOUIS DAVIS ELLWOOD and JESSICA             Case No. 21-40517-JMM (Ch. 7)
       ELLWOOD,


       ERIC W. HORTON and RANDALEE M.              Case No. 21-40521-JMM (Ch. 7)
       BROWYER,


       CODY W. PLICKA and ANGELE M. PLICKA,        Case No. 21-40525-JMM (Ch. 7)


       NORBERTO RODRIGUEZ,                         Case No. 21-40526-JMM (Ch. 7)


       KELSIE SHURTLIFF,                           Case No. 21-40532-JMM (Ch. 7)
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        MARISSA J. JOHNSON,                              Case No. 21-40533-JMM (Ch. 7)


        CHRISTOPHER D. SMITH and MISTY SMITH,            Case No. 21-40540-JMM (Ch. 7)


        ERIC R. WHITTEKIEND and SHARLA K.                Case No. 21-40557-JMM (Ch. 7)
        WHITTEKIEND,


        NATHAN S. TRACY,                                 Case No. 21-40563-JMM (Ch. 7)

                                   Debtors.


                 AMENDED NOTICE OF ZOOM VIDEO HEARING AND ORDER



      Pursuant to Federal Rule of Civil Procedure 43(a), made applicable by Federal
Rules of Bankruptcy Procedure 9017 and 9014, the Court concludes the current COVID-
19 pandemic provides good cause and compelling circumstances to take testimony and
evidence on the matters identified herein through a Zoom video hearing with the
appropriate safeguards as set forth below. Therefore,
       YOU ARE HEREBY NOTIFIED that Motion for Sanctions , shall be heard via
Zoom video hearing on Thursday, November 18, 2021, at 9:30 am (Mountain Time).
Participants will be placed in the Zoom waiting room until the Court starts the hearing
and invites participants into the main hearing session. In order to conduct the video
hearing,
      IT IS HEREBY ORDERED that:
 Prior Notice of Intent to Participate: Counsel and parties representing themselves who
plan to participate in the video hearing and/or call witnesses shall provide notice to the
Courtroom Deputy, Deborah Jenson at Deborah_Jenson@id.uscourts.gov, no later than
12:00 p.m. Mountain Time on the business day preceding the date of the hearing. Such
communication shall include:

      a. The names, email addresses, and telephone numbers of all video participants or
         witnesses. All participants and witnesses shall be available at the identified
         telephone numbers on the day of the hearing; and
      b. The participants’ intent, or lack thereof, to seek sequestration of witnesses
         pursuant to Federal Rule of Evidence 615.
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        The Courtroom Deputy will provide the video Zoom link to the participating
parties identified in the email. It is the responsibility of the participating party to provide
that link to his/her witnesses as parties designating a witness have the responsibility,
subject to the Bankruptcy Rules, of assuring the presence of the witness at trial. Such
communication does not satisfy nor negate the participants’ responsibility to timely
provide and exchange witness and exhibit lists and exhibits to the Court and
opposing parties as required by Court order or local rule.

2. Exhibits: The parties shall comply with any Court order and local rules regarding the
identification and exchange of witness and exhibit lists and exhibits. In addition:

              a. The parties shall deliver their identified exhibits to the party participants
                 and the Court (an original exhibit set and a judge’s copy) in paper
                 format.

              b. The parties must also provide the exhibits to participants in electronic
                 format such that the participants may disseminate the exhibits to their
                 identified witnesses. It is the obligation of the party identifying a
                 witness to provide his/her witnesses with all the exhibits, those
                 identified by the party and those identified by all other parties.

              c. A party shall be prepared to identify an exhibit at issue during
                 questioning and share their screen to allow all parties to identify and
                 address the exhibit.

              d. If a party intends to utilize rebuttal exhibits, he or she shall be prepared
                 to transmit such exhibits electronically to the Court and other
                 participating parties during the hearing.


3. Witness Testimony: The Court will administer the oath to each remote witness during
the video hearing and it shall have the same effect as if the witness was sworn in by the
Court in person. As additional safeguards:

              a. No person, including counsel, shall be permitted to be in the same room
                 with any remote witness unless specifically and expressly authorized by
                 the Court before the witness begins testifying.

              b. No person shall communicate in any manner with a witness during his
                 or her testimony, except by direct examination and cross-examination
                 on the record, unless specifically and expressly authorized by the Court
                 before the communication takes place.
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             c. Remote witnesses shall have before them only the exhibits provided to
                the Court for consideration in connection with the matter(s) set for
                hearing and no other documents or data.

             d. The Court or any party may request that the witness display
                identification or request that one or more participants verify the identity
                of the witness if there is any question about the identity of that witness.


       4. Conduct during the Video Hearing: While conducted through video
technology, this is an official Court proceeding and an audio record is being made. In
order to preserve the integrity of that record:

                        a. Participants should use a headset, headphones, earbuds, or
                           similar equipment and should not use the microphone and
                           speakers built into their devices unless the device has first
                           been tested and proves not to create feedback in Zoom
                           hearings.
                        b. Participants shall keep their devices on mute when not talking
                           as part of the proceeding.
                        c. Pursuant to Dist. Idaho Loc. Civ. R. 83.1, no person may
                           record the proceedings from any location by any means. The
                           audio recording maintained by the Court shall be the sole
                           basis for creating a transcript that constitutes the official
                           record of the hearing.
                        d. Participants shall strive to conduct themselves in the same
                           manner as they would in open court including identifying
                           themselves before speaking, exercising civility, and dressing
                           appropriately.

      5.Public Hearing and Access: This is a public hearing. Any person
                 wishing to listen to the hearing via telephone may call 1-669-254-5252,
                 enter the following Meeting ID: 160 145 4551; and Password: 210480.


                                  DATED: November 10, 2021




                                  ________________________
                                  JOSEPH M. MEIER
                                  CHIEF U. S. BANKRUPTCY JUDGE
